     Case 3:24-cv-04471-EMC Document 136-8 Filed 10/15/24 Page 1 of 2




 1
                                 UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3

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     In the Matter of I.D., N.D., and C.D.:
 5                                                       Case No. 3:24-cv-04471-EMC
     CASIMIRO JOSE CANHA CAVACO DIAS
 6
                                                         [PROPOSED] ORDER RE MOTION
 7                 Petitioner,                           FOR EVIDENTIARY
                                                         PRESUMPTIONS AND
 8                                                       PRODUCTION OF ARMENIAN
            v.
                                                         COUNSEL/EXPERT MATERIALS
 9
     RULA NABIL KHOURY CAVACO DIAS
10
               Respondent.
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13          On October 11, 2024, Respondent filed a Motion for Evidentiary Presumptions and

14   Production of Armenian Counsel/Expert Materials. On October 15, 2024, Petitioner filed a

15   response in opposition to Respondent’s motion.
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            The Court, having considered Respondent’s Motion for Evidentiary Presumptions and
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     Production of Armenian Counsel/Expert Materials, and Petitioner’s Response, hereby orders:
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            1) Respondent’s Motion is DENIED.
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     Case 3:24-cv-04471-EMC Document 136-8 Filed 10/15/24 Page 2 of 2




          IT IS SO ORDERED.
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 2   Dated:

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 5
                                             EDWARD M. CHEN
 6                                           United States District Judge

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